   Case 19-11098         Doc 22      Filed 05/28/19 Entered 05/28/19 18:05:06                Desc Main
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                              UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MASSACHUSETTS
                                      EASTERN DIVISION

In Re:                                                            Case Number 19-11098-FJB
Kathleen Marie Rennie f/k/a Kathleen Marie Bonacheck              Chapter 7


                   ASSENTED TO MOTION TO CONTINUE HEARING RE: MOTION
                     FOR RELIEF FROM THE AUTOMATIC STAY [DOC. NO. 12]


          Now comes U.S. Bank National Association, as Trustee for GSAA Home Equity Trust 2007-1,

Asset-Backed Certificates, Series 2007-1 (“Secured Creditor”) and respectfully requests that the hearing

currently scheduled for Thursday, May 30, 2019 at 9:30AM be continued for a period of approximately

thirty (30) days, or to some other date and time that this Court deems just and proper.

          As grounds for said Motion, Secured Creditor states that the parties (namely, Secured Creditor

and the Chapter 7 Trustee) are in the process of attempting to resolve this matter, but require additional

time to continue with their discussions as to same. The Chapter 7 Trustee has specifically requested

additional time to explore the prospects of a third-party sale of the subject property.

          WHEREFORE, Secured Creditor respectfully requests that the hearing on this matter be

continued for a period of approximately thirty (30) days. Chapter 7 Trustee, Attorney David B. Madoff,

has assented to the filing of this Motion.



Dated: May 28, 2019
                                                   Respectfully submitted,
                                                   U.S. Bank National Association, as Trustee
                                                   for GSAA Home Equity Trust 2007-1, Asset-
                                                   Backed Certificates, Series 2007-1
                                                   By its attorney,

                                                   /s/ Marcus Pratt
                                                   Marcus Pratt, Esquire
                                                   BBO #684610
                                                   Korde & Associates, P.C.
                                                   900 Chelmsford Street, Suite 3102
                                                   Lowell, MA 01851
                                                   Tel: (978) 256-1500
                                                   bankruptcy@kordeassociates.com


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                                     CERTIFICATE OF SERVICE

I, Marcus Pratt, Attorney for U.S. Bank National Association, as Trustee for GSAA Home Equity
Trust 2007-1, Asset-Backed Certificates, Series 2007-1 and/or its successors and assigns hereby
certify that on May 28, 2019 I electronically filed the foregoing Assented to Motion to Continue with the
United States Bankruptcy Court for the District of MA using the CM/ECF System. I served the forgoing
documents on the following CM/ECF participants:

John Fitzgerald, Assistant U.S. Trustee
David B. Madoff, Trustee
Dax B. Grantham, Esquire

I certify that I have mailed by first class mail, postage prepaid the documents electronically filed with the
Court on the following non-CM/ECF participants:

Kathleen Marie Rennie                             Tax Collector:
93 Springs Road                                   Town of Bedford, MA
Bedford, MA 01730                                 Municipal Building, 10 Mudge Way
                                                  Bedford, MA 01730
Kathleen Marie Rennie
34 Lynch Lane
Harwich, MA 02645


                                                  /s/ Marcus Pratt
                                                  Marcus Pratt, Esquire
                                                  BBO #684610
                                                  Korde & Associates, P.C.
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